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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,


       v.                                                     DECISION AND ORDER
                                                                 11-CR-116S (1)
VICTOR ANGUIERA,

                     Defendant.

       Presently before this Court is Defendant Victor Anguiera’s Motion for

Reconsideration (Docket No. 393) of this Court’s Order (Docket No. 354) denying his

Motion for Reduction of Sentence under 18 U.S.C. § 3582(c)(2).

       Defendant continues to maintain that he is entitled to a reduction in his sentence

under Amendments 782 and 788 of the United States Sentencing Guidelines, which

together modify U.S.S.G. § 2D1.1 to lower sentencing ranges for certain categories of

drug-related offenses both presently and retroactively.

       For the reasons stated in this Court’s initial Order (Docket No. 354), Defendant’s

motion is denied. Defendant has come forth with no persuasive reason for this Court to

reconsider its finding. Notwithstanding his efforts at rehabilitation and his previous

substantial assistance to law enforcement, Defendant is ineligible for a sentence reduction,

because he was sentenced to a non-guideline sentence of 120 months on Count 1, which

is lower than his reduced guideline range would be under the amendment, even with

application of a comparable substantial assistance departure.              See U.S.S.G. §

1B1.10(b)(2) (precluding a court from lowering an inmate’s term of imprisonment below the

low end of his or her amended guideline range). In any event, given the significantly



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reduced sentencing previously imposed, this Court would deny Defendant’s request for a

sentence reduction as a matter of discretion.    Accordingly, Defendant’s Motion for

Reconsideration is denied.

         IT HEREBY IS ORDERED, that Defendant’s Motion for Reconsideration (Docket

No. 393) is DENIED.

         SO ORDERED.



Dated:         April 8, 2016
               Buffalo, New York



                                                      s/William M. Skretny
                                                     WILLIAM M. SKRETNY
                                                    United States District Judge




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